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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
IN RE: COMMERCIAL MONEY : Case No. 1:02CV16000
CENTER, INC., EQUIPMENT :
LEASE LITIGATION : (MDL Docket No. 1490)
JUDGE O'MALLEY

MEMORANDUM AND ORDER
This Order Relates To Case Nos.
02CV16003, 02CV16010,
and 03CV16000
This Court is the transferee court presiding over the Multidistrict Litigation (“MDL”)
known as In re: Commercial Money Center, Inc. Equipment Lease Litigation, MDL no. 1490.
By Order of the Judicial Panel on Multidistrict Litigation (the “MDL Panel’) dated October 25,
2002 (Doc. 1), numerous cases were transferred to this Court for coordinated pretrial
proceedings pursuant to 28 U.S.C. § 1407. Ultimately, 38 cases were made a part of the
Commercial Money Centers MDL, and 15 cases remain pending.’ This Court, by the within
Order, hereby suggests to the MDL Panel that remand is now appropriate in Case Nos.
02CV 16003, 02CV16010, and 03CV16000.
The federal multidistrict litigation statute, 28 U.S.C. § 1407, mandates that each
transferred action “shall be remanded by the panel at or before the conclusion of such pretrial
proceedings to the district from which it was transferred unless it shall have been previously

terminated.” 28 U.S.C. § 1407(a). The ultimate decision of whether to remand a case from a

 

' By Order dated October 6, 2010 (Doc. 2478), the Court ordered that six cases be dismissed without prejudice,
at the request of the parties. As of the date of this Order, twelve cases (other than the three as to which this Court
has suggested remand) remain pending in the Northern District of Ohio. Of those twelve cases, eleven were
originally filed in this District and are before this Court in its capacity as trial judge.
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transferee court rests with the MDL Panel. See 28 U.S.C. § 1407. However, “[iJn considering
the question of remand, the Panel has consistently given great weight to the transferee judge’s
determination that remand of a particular action at a particular time is appropriate because the
transferee judge, after all, supervises the day-to-day pretrial proceedings. . . .” In re Data
General Corp. Antitrust Litigation, 510 F. Supp. 1220, 1226 (J.P.M.L. 1979), quoting In re
Holiday Magic Sec. & Antitrust Litigation, 433 F. Supp. 1125, 1126 (J.P.M.L. 1977).

A transferee judge should suggest remand to the MDL Panel only when the judge
“perceives his or her role in the case has ended.” Kinley Corp. v. Integrated Resources Equity
Corp. (In re Integrated Resources Equity Corp. Real Estate Ltd. Partnership Sec. Litig.), 851 F.
Supp. 556, 562 (S.D.N.Y. 1994). A suggestion of remand is appropriate only where a case will
not “benefit from further coordinated proceedings as part of the MDL . . .”, McKinney v.
Bridgestone/Firestone, Inc. (In re Bridgestone/Firestone, Inc., ATX, ATX II, & Wilderness Tires
Prods. Liab. Litig.), 128 F. Supp. 2d 1196, 1197 (S.D. Ind. 2001), and “when everything that
remains to be done is case-specific.” Id., quoting In re Patenaude, 210 F.3d 135, 145 (3d Cir.
2000).

Over the past eight years, in its role as transferee court, this Court has handled substantial
motion practice and has overseen an extensive, multi-year discovery process, in coordination
with related bankruptcy and state criminal proceedings. With the assistance of a Court-appointed
mediator, numerous cases have settled.? Several cases also have been remanded to their
transferor courts for trial. At this point, all common fact and expert discovery is complete in

these cases, and all case-wide issues amenable to resolution in this transferee court have been

 

* As ordered by the Court in its Post-Ruling Partial Case Management Plan (Doc. 1739), mediation in these
actions was conducted by Richard B. McQuade, Jr., a former federal judge.
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resolved. The Court thus is of the view that coordinated proceedings no longer are of benefit in
these cases, and that all remaining proceedings will be case-specific.

On August 9, 2010, this Court issued a Status Order (Doc. 2465), which required that any
party objecting to remand in any of these cases file such objection with the Court on or before
August 31, 2010. The Court has not received any objections to remand in any of these actions.

For all of the foregoing reasons, the Court concludes that the civil actions identified in the
within Order are now ripe for remand to the transferor courts for final disposition. Accordingly,
this Court hereby suggests that the MDL Panel order remand in the following actions:

(1) Case No. 02CV 16003, to the United States District Court for the Southern District

of California;

(2) Case No. 02CV16010, to the United States District Court for the District of

Nevada; and

(3) Case No. 03CV 16000, to the United States District Court for the Southern District

of California.

IT IS SO ORDERED.

s/Kathleen M. O’Malley
KATHLEEN McDONALD O’MALLEY
UNITED STATES DISTRICT JUDGE

Dated: October 6, 2010

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